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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


BRIAN ANDERSON,
                         Plaintiff,
v.                                                   Civil Action No 2:21-cv-01399-CB
DIVERSIFIED GAS & OIL CORPORATION,
                         Defendant.

                   STIPULATION FOR DISMISSAL WITH PREJUDICE

       Plaintiff Brian Anderson and Defendant Diversified Gas & Oil Corporation, by and

through their respective undersigned counsel, and pursuant to Rule 41(a)(1)(A)(ii) of the Federal

Rules of Civil Procedure, stipulate to the dismissal of this case with prejudice, with each party to

bear its own costs and attorneys’ fees.

                                      Respectfully submitted,

 For Plaintiff:                                       For Defendant:

 QUANTRINI RAFFERTY                                   REED SMITH LLP

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                                                      Counsel for Defendant
Dated: February 2, 2022
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                                CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on February 2, 2022 the foregoing Stipulation for

Dismissal with Prejudice was filed electronically with the Court. Notice of this filing will be

sent by operation of the Court’s electronic filing system to all parties indicated on the electronic

filing receipt. Parties may access this filing through the Court’s system.



                                                /s/ James A. Holt
                                                Counsel for Defendant
